9/13/21,Case
        10:30AM1:21-cv-22441-RNS Document 57
                                           13SeEntered   on
                                               ptember,202  FLSD
                                                            :17-httpDocket
                                                          110       ://politicszo09/21/2021
                                                                                 zz.org     Page 1 of 10


 l
         *
         d
         '                                                     '
                                                               j,

                                                                     k                                                            .

                                                                         .                                             .   j
                                                   c.      -   ...           CL3                                                .           jj
                                                                                                                       jj                   j
                                                                                             ,                     .       >*..       .x.
                                                                                   .             .                     :        . .+ .
                                                                                       .                          u''' . .            .'
                                                    .'%.             '




                                                                                                     h             .
                                                                                       :*'''kà        :           .-
                                                                                           At-.:
                                                                                               :j.+:N' .
                                                                                                       s
                                                                                                                               wls '
                                                                                                              n
                                                                                                              fw.-* '                  '
                                        .v                                                            r..:.        I.
                                                                                                                    ei

                      .         >'                                                                                     .
                         -
                           4..$a
                           r  ...
                           -4*i.
             ,,' '' .
               .'i
                       .1
                        ,:.2
                         1 :,:
                             ,'. p,.:.t.'. kpli
                           F.:,j
                               I
                               p
                               !
                               E.:
                                 .
             1       ;k
                    t!.l
                       pl
                        ,'
             v                   u

                     tt @
                        -                         *I
                                                  I *                         .r



             13 Septem ber,202110:17
             I TRU ST SO M EO N E!2o2o V OTE CRIS ER ICSON -PRO GRESSW E                                                                         @ :3.5.
                                                                                                                                                       0 2021
             œ IA TEST

             Sept.13,2021Openletteronmybloghttp://politicszozz.org
             From :Cl'isEricson
             879 Church Street
             Chester,Verm ont05143-9375
             (802)875-4038
             To:FederalJudge RobertN .Scola
             U nited States DistrictCourt
             Southern D istrictofFlorida
             W ilkie D.Ferguson,Jr.U .S.Cou/house
             400 N orth M iam iAvenue,8th floor
             M iam i,FL 33128

             ltE:DONM D TRU M P v.TW IW ER IN C.
             Case 1:21-Cv-22441-11N 5

             AM ENDED REQUEST IN RESPONSE TO HONORABLE JUDGE ROBERT N.
             SCOLA'S



hops://chsericson.wordpress.com/zozl/og/l3/l3-september-zozl-lol7/                                                                                              1/9
       Case
9/13/21,       1:21-cv-22441-RNS Document 57
        10:30 AM                              Entered
                                           13Sep         on10:
                                                tember,2021 FLSD    Docket
                                                             17- httpr          09/21/2021
                                                                     //politicszozz.org    Page 2 of 10



           Septem ber1o,2021,LocalRule7.1(a)(3)DENIAI,OF REQUEST FOR SUBCIA SS
           M otion to Intervene

           (1)Ihave em ailed a11attorneysforPlaintiff,Donald J.Trum p and Class.

           (2)Ihaveem ailed a11attorneysforDefendant,Twitterand Jack Dorsey.

           (3)1haveem ailedtheDept.ofJustice,CivilDivision Attorney.

           (4)lhavetried to locate LauraLoom erwho wason theFloridaprim ary
          election ballotasa Republican politicalcandidatefor U .S.Congress 2o2o
          butw as stillbeing banned from Tw ITI'ER priorto the Nov.3,2020 election,
          w hich shelostto a Dem ocrat.

           ho s://- .  .newsw ars.com /censored-laura-loom er-addresses-M uer-
           ban-statem ent/
           V ug o2,2021.M y N am e is Laura Loom er.A sm any ofyou m ay have
           heard,Iw as perm anently banned from Twitterforlife on N ovem ber21,2018...*

           Ican notfind a curenttelephone num berorem ailforLaura Loom er.
           Loom erv.Tw itterCase 9:19-cv-81179-RV
           U .S.D .C.Southern DistrictofFlorida,Palm Beach County Division
          Illom inateM edia,Inc.and Laura Lom m er,Plaintiffs
          v.CM R Florida Inc.,CA IR Foundation,and TW IW ER ,Defendants.
          Case 9:19-cv-81179-RAR The case is aboutTW IU ER'S ban
          ofLaura Loom erand Plaintiffsspeculation thatCM R-Florida
          m usthave done som ething to cause Twitterto ban herin late
          N ovem ber2018.CA IR isthe Councilon Am erican Islam ic Relations.

          (5)LauraLoom er'spreviouslegalaction wasnotbased on thesam ecodes
           and statutesthatm y proposed subclassrequestisbased on herein,
           so this is a differentlegalcause ofaction.

           Statem entofFacts:

           Iw as on the oo cialelection ballotin Verm ont2o2o forstatew ide
           offices afterhaving w on the Progressive Party Prim ary Election
           (ProgressivePal'
                          tyisam ajorpoliticalpal'tyunderVerm ontlaw)for
          Lt.Governor,Attorney General,Auditor,Treasurer and Secretary of
          State,as allow ed underVerm ontlaw .




hqps://crisericson.wordpress.com/zozl/og/l3/l3-september-zozl-1017/                                       2/9
  J3/21,Case
 9/     10:  1:21-cv-22441-RNS Document 57
          30AM                           13SeEntered   on1û
                                             ptember,2021 FLSD    Docket
                                                           :17-http//politicszû09/21/2021
                                                                   :            zz.org    Page 3 of 10


           Before the N ov.3,2o2o GeneralElection in Verm ont,
           where Iw as on the oë cialVerm ontElection Ballotfor
           a totaloffive statewide offices,Iexperienced being CEN SO RED by
           TW IW ER and Jack D orsey.

           In Donald J.Trum p'sClassA ction,D ONALD TRU M P v.TW IW ER IN C.
           Case 1:21-cv-22441-RN S itisstated:

          WIII.D EM O CM T LEGISIA TORS CO ERCED DEFEN DANTS TO CEN SOR TH E
          PI,AINTIFF AN D PUTATIVE CI,ASS M EM BERS
          48.Dem ocratlegislatorsin Congressfeared Plaintiffssldlled use ofsocialm edia as a
          threatto theirow n re-election efforts.Theselegislators exerted overtcoercion,
          using both w ordsand actions,to directDefendants to censorthe views and
          contentwhich Dem ocratM em bersofCongressdisagreed w ith,ofboth Plaintiff
          and Putative Class M em bers.''

          lpropose m yself,CrisEricson,CEN SORED by '    IW IW ER and Jack D orsey,
          as a subclasslead plaintiffto represent
          a1l2018 and 2o2o politicalcandidatesfor any federal,state orlocaloffce
          who w ere CEN SO RED by Tw IT I'ER and Jack D orsey before any prim ary
          election orgeneralelection in the U .S.A.because U .S.Senator Patrick Leahy
          and/orU.S.SenatorBernieSandersand/orU.S.Congressman PeterW elch
          m ay have asked Jack Dorsey and TW ITI'ER to CEN SOR m e:

          (a)During apastpoliticalcam paign,when 1wason theVerm ont
          Novem bergeneralelection ballotforRepresentativeto U .S.Congress,
          W'N r latold m e thatDem ocratU .S.Congressm an PeterW elch'so/ ce
          eontacted them and told them he did notw antm eto appearw ith
          m y dog again,because the dog w ould geta1lthe votes.This
          leads m eto question ifU .S.Congressm an PeterW elch contacted
          TW IW ER orJack D orsey atany tim e and asked them to censor m e?

          (b)In alivetelevised debatein apastpoliticalcampaign,when
          Iwason theVerm ontballotfor Representative to U.S.Congress,
          Iappeared on CCTV in Burlington,Verm ontrunning against
          Dem ocratU .S.Congressm an PeterW elch w hen he said he had taken
          no politicalcam paign contributions from defense contractors
          and Istated thathe wasnottelling the truth because in the previous
          w eek he had been photographed in the Burlington Free Press
          with U .S.SenatorPatrick Leahy sm iling and holding up their
          cam paign checksforthousands ofdollarsfrom a defense
          contractor.D id either U .S.Senator Patrick Leahy or



hops://ciseriuon.wordpress.com/zozl/og/l3/l3-september-2021-1017/                                        3/9
9/13/21,Case  1:21-cv-22441-RNS Document 57
        10:30AM                               Entered
                                          13 Sep         on10FLSD
                                                tember,2021          Docket
                                                             :17- http://policszo09/21/2021
                                                                            ti   zz-org     Page 4 of 10


         U .S.Congressm an PeterW elch atany tim e contactJack Dorsey
         orTW IW ER and tellthem to censor m e?

         (c)ln apastpoliticalcam paign,in alivetelevised debate,
         when Iw as on the Verm ontballotforU .S.Senate,
         Istated thatD em ocratU .S.Senator Patrick Leahy repeatedly took
         politicalcam paign donationsfrom m y opposing attorneys'PAC
         (1wasprose,inform apauperis)while my casewasin thefederal
         couds,and my casewasdismissed (Suprem eCourtoftheUnited
         StatesDocket# 99-6899).H estated,liveon television,thatitwas
         pastthe statute oflim itations,buthe did notdeny repeatedly
         taking politicalcam paign donationsfrom the PAC ofm y opposing
         attorneys(in acaseoriginatingin CALIFORNIA,whereIhad
         beeninjuredwhileworkingon amoviesetwith socalledWtradesecret''
         'Tharm lessspecialeffects'' a fraudulentterm in com m erce
         in m y opinion forPETN ,lead azide and lead styphnate squibsand
         detonators which took seven yearsin courtsto 5le a com plaintagainst
         state OSHA and bring in federalO SH A to getthe m aterialsafety data
         hazard sheetsforthesem ilitary high explosiveswhich theyhad conceled).
         Atany tim e did U .S.SenatorPatrick Leahy ask
         Jack Dorsey orTW IW ER to censorm e?

          (d)In apastpoliticalcam paign,in alivetelevised debate,
          Iw as on the Verm ontballotfor U.S.Senate and
          Istated thatU .S.Senator Bernie Sanders
         wasnottellingthetruth abouttheF-35strikefghterjets
          when he stated thatthey had no nuclearcom ponents.
          They arenow thesubjectofcontroversy
         because U.S.SenatorBernie Sandersw on his
         cam paign to have them based in the m ostpopulated city
         in the m ostpopulated county in Verm ontcausing citizens
          andchildrentobeinjuredbythenoiseandvibration,etc.
          Atany tim e did U .S.SenatorBernie SanderscontactJack Dorsey or
          TW IW ER and ask them to censorm e?

          (e)In 2018 Iwason theofficialelection ballotin Verm ont
          asa candidate forRepresenative to U .S.Congress
          and Verm ontPBS refused to include m e in politicalcandidate
          debates.
          Did U .S.Congressm an PeterW elch ask them to exclude m e?
          w w w .fec.gov >files >legal>m urs >7619 >7619
                            .-

          RE:M UR 7619.The FederalElection Com m ission



hopsr//crisericson.wordpress.
                            com/zozl/og/l3/l3-september-zozl-l017/
9/,23/
     21,Case
          30AM1:21-cv-22441-RNS
        10:                                  Document 57
                                                       13SeEntered
                                                           ptember,202on
                                                                       110FLSD
                                                                          :17-httpDocket
                                                                                  ://policszo09/21/2021
                                                                                        ti   zz.
                                                                                               org      Page 5 of 10


          Did U .S.Congressm an PeterW elch ask TW IW ER and Jack Dorsey
          to CEN SO R m e?

          Ifeelthatevel.
                       y election in Verm onthasbeen unfair
          because Ihave been excluded from som e candidate debates
          and forum severy cam paign season.N ow ,Iam aw are ofthe
          wrongfulCEN SORSH IP againstm e by Tw IW ER and Jack D orsey.

          2004,2o10,and 2016 1w as on the oY cialN ovem bergeneral
          election ballotforU .S.Senatorin Verm ontrunning
          againstDem ocratU .S.Senator Patrick Leahy.
          2006 and 2012 1w as on the oo cialN ovem bergeneral
          election ballotin Verm ontfor U .S.Senatornm ning
          againstU.S.SenatorBernie Sanders.
          2008,2014,and 2018 1wason the Verm ontoo cialN ovem ber
          generalelection ballotforRepresenative to U .S.Congress
          running againstDem ocratU .S.Congressm an PeterW elch.

          Verm onthasnevervoted to send a w om an to the U.S.Congress,
          U .S.H ouse orU .S.Senate.The Gold boys'network''w ins
          every tim e.N ow itincludesJack Dorsey.Is this a RICO conspiracy?

          LEGM ARGU M EN T and Table ofAuthorities:

          Rule23.ClassActions(c)(5)Subclasses.
          W hen appropriate,a Class,Case 1:21-cv-22441-RN S,
          m ay be divided into subclasses thatare
          each treated as a classunderthis rule;and herein Ipresentan
          am ended requestfor a subclassforpoliticalcandidates,
          like m yself,who were on any federal,state orlocalprim ary
          election orgeneralelection ballotbutcensored by Jack Dorsey
          and TW IU ER,allegedly in violation ofTitle 18 U .S.C.Section 600
          andTitle52 U.S.C.Sedion 30121(a)(1)(A),because
          Title 47 U .S.C.Section 230 forbidsviolationsoffederalcrim inallaws.

          Title 18 U.S.C.Section 600:W hoever,directly orindirectly,prom isesany
          benest,provided foror m adepossible in whole orin partby any ActofCongress,
          (such asTitle47U.S.C.Section 230)to any person (TW IW ER isacorporate
          fïperson'')asconsideration foranypoliticalactivity (such ascensoringa
          politicalcandidate)
          in opposition to any candidate orany politicalparty in connection with any
          prim ary orgeneralelection to any politicaloffice shallbe fined underthistitle...



hdps://cNsericson.wordpress.com/zozl/og/l3/l3-september-zozl-lol7/                                                     5/9
       Case
9/13/21,       1:21-cv-22441-RNS Document 57
        10:30 AM                               Entered
                                           13 September,20on
                                                          211FLSD
                                                             0:17 - httDocket
                                                                       p://polj    09/21/2021
                                                                              ticszozz.org    Page 6 of 10



         Title52 U.S.C.Section 30121(a)Prohibition:Itshallbeunlawfulfor(1)aforeign
          national,
         (TV tterallegedly earns
         m oney from foreign nationalsand allegedly doesnotsegregatethef'unds)directly
          orindirectly,to m ake
          (A)acontribution orotherthing ofvalue (censoringcandidatescom peting for
          elected politicaloffice is ofvalue
          to theopposingcandidateswho arenotcensored)in connection with aFederal,
          State,orlocalelection;...

          Title 47 U .S.C.Section 2ao prohibitsviolations ofany federalcrim inallaw .

          Sum m au :

          Politicalcandidates,like m e,and the certified votersw ho sign
          petitionsto putcandidateson the officialelection ballotin any State for
          federal,state orlocaloffice,are DAM AGED BY CEN SORSH IP
          by Jack Dorsey and TW IW ER because itisextrem ely im poztantforvoters
          to know the politicalpositions ofthe people they votefor,and to
          deprivevotersofthis knowledge is serious and w illf'uland intentional
          concealm entofm aterialfacts,dam aging the censored candidates
          and the voters.

          Irespectfully ask this Courtand FederalJudge RobertN .Scola
          to considerm y Am ended requestfor:

          (1)asubclasstoinclude all2018 and 2o2o politicalcandidatesforany
          prim ary election orgeneralelection in any State oftheU nited Statesof
          Am erica who w ereCEN SORED by TW IW ER and Jack D orsey;

          (2)perm ission oftheCourtto proceed inform apauperisbecause1am
          a seniorcitizen w ith incom e below the poverty level;

          (3)Courtappointmentoflegalcounselprobono/contingencyfeebecauseI
          can notafford wifiorbroadband athom e to conductlitigation.There is
          no localbusortaxiservice in Chester,Verm ont05143 to getto thelibrary,
          and during up to six m onthsofsnow season Im ightnotbe able to get
          a hom e drivew ay snow plow truck because ofthe high dem and ofdrivers.

          Respectfully subm itted to The H onorable FederalJudge RobertN .Scola by:

          CrisEricson (802)875-4038


hops://crisericson.wordpress.com/zozl/og/l3/l3-september-zozl-lol7/
9/13/21,Case  1:21-cv-22441-RNS Document 57
        10:30AM                           13SeEntered   on
                                              ptember,202110FLSD
                                                            :17-httpDocket
                                                                         iticszo09/21/2021
                                                                    ://pol      zz.
                                                                                  org      Page 7 of 10


          By publicw ifiem ailto the following:

          JO SH UA KO LSIW
          United StatesD epallm entofJustice
          joshua.kolslcy@usdoj.gov
          Attorney forthe United States

          M atlhew L.Baldw in,Esq
          VARGAS GON ZAI,EZ
          BA LDW IN DELOM BARD ,LLP
          M atthew@ vargasGonzalez.com
          Service8@vargasGonzalez.com

          JOH N P.COM E
          johnpcoale@aol.com
          FRAN K C.DU DEN H EFER,JR.
          fcdlaw @ aol.com

          JOHN Q.KELLY
          jqkelly@ibolam com
          M ICH AEL J.JO NES
          mjones@ibolam com
          ROLAN D A .PAU L
          rpaul@ibolaw .com

          RYAN S.TOU GIAS
          rtougias@ ibolaw.com

          SKAN M .H AM ILL
          sham ill@ ibolaw.com

          AttorneysforD efendantTW IW ER:

          Patrick J.Carom e
          patrick.carom e@ V lm erhale.com

          Felicia H .Ellsw ol'th
          felicia.ellswodh@ V lm erhale.com




hdps://chseriu on.wordpress.com/zozl/og/l3/l3-september-zozl-lol7/
       Case
9/13/21,10:  1:21-cv-22441-RNS Document 57
          30AM                               Entered
                                         13 Sep         on1FLSD
                                               tember,2021          Docket
                                                           O:17- httpr
                                                                     //pol     09/21/2021
                                                                         iticszozz.org    Page 8 of 10



          PeterW .Hom er
          H OM ER BONN ER
          phom er@hom erbonner.com

          CrisEricson
          879 Church Street
          Chester,Verm ont05143-9375
          (8024875-4038
          crisericson@ aceweb.com on publicwifi


          shcre this:

           O Facebook # Twitter Q Linkedln < More

               Like jt
                     s'
                      -
                      .7i
                        .
                        l
                        ,,-. .-k
                        ..     'k;
          One bloggerIikes this.



          Related

          5 Septem ber,2021 10:14                  5 Septem ber,202112:55   5 September,202109:50
          5 Sep 2021                               5 Sep 2021               5 Sep 2021
          ln 'I,ATEST''                            In ''I,ATEST''           In ''I,ATEST''

          I TRU ST SO M EON E !2020 V OTE CR IS ER ICSON -PRO GR ESSW E               @ :3-e pao21
          œ IA TEST




          Published by TRUST SO M EO NE!2020 VO TE C RIS
          ERIC SO N - PRO G R ESS IV E
          Paid forby 2o2o Cam paign to ElectCris Ericson 879 Church Street,Chester,VT
          05143 1-802-289-1000 Textm essagesm ustinclude yournam e & tow n you vote in!
          879CHURCH STREET CHESTER,W RM ONT O5143-9375http://pOlitics2O2O.Org
          v lew m ore posts




hops://crisericson.wordpress.com/zozl/og/l3/l3-september-zozl-lol7/
                                                        A'r j
                                                        #         '
Case 1:21-cv-22441-RNS Document 57 Entered on FLSD Docket 09/21/2021
                                                          f;
                                                             4       Page 9 of 10                                         '


                                                          ) .    e
                                                     ) ' : I
                                                          -
                                                             .
                                                             :
                                                             '
                                                                                                               v'o . o
                                                                                                                %. Mv y
                                                                                                                r
                                                                                                                .; < -
                                                                                                                :
                                                                                                              ..''   1                 *'
                                                                                                                :.
                                                                                                                     N
                                                                                                                     1 'n a

                                                                                                              V> Q
                                                                                                                          ?p %
                                                                                                                     m x A
                                                                                                                         -
                                                                                                                     3'm
                                                                                                                       o)
                                                                                                                     o                 o
                                                                                                                     %
                                                                                                                     N                 k.
                                                                                                                     +
                                                                                                                     %

                                               - .                                                                   ùj
                                               N                                                                     N                              ê

                       ''
                                       %       (%* o
                                                   Q x
                                                     z               .
                        ,.
                         .!
                       iI
                       f,
                         a;
                          ,
                          :
                          .
                          1
                          j
                           -
                           !
                           :           l
                                       t
                                       ;
                                       i
                                       :::
                                       E ;
                                         ,
                                         l
                                         -             ,
                                                               ' @                                                                              2
                                                                                                                                                .
                                                                                                                                                *
                                                                                                                                                ,
                       (
                       j
                       .
                       ;
                       ..r*. V
                        .1
                        %.v      11k               %                                                                                            '
                       f-fl
                    1:1.-1
                        *y
                       .#              4
                                       ..
                                        1,                               ,                                                                      .
                    ....t%,
                          N ..                                     %         Q
                                                                             b
                    (.w'#                                                                                                                       '
                    t1)                            Q'
                                                   % -,            @         m
                            ,                      o M. K                    %
                   t
                   '
                   .t,                 x, a a
                    $;.
                    (                  V u  <
                                       4                       .             û
                                       N. N                         N        x                                                1-
                                                   <           %    V#                                    sa                  I.
                                                                                                                          $-4
                   - ..                                              a                                    w               -j
                   -'
                    *
                    .....
                   -Q-.:
                                        gW .                         x
                                                                     R
                                                                      .                                   (n              m
                       ....                                                                              m.                                   r,
                  --
                   .----
                       .
                       :.
                        2
                        :
                        ,-
                        -
                      .-..                 :::
                                             2
                                             !
                                             ;
                                             1
                                             :
                                             -                                                           --
                                                                                                          1, l
                                                                                                          ::
                                                                                                           1
                                                                                                           4 ;
                                                                                                             :
                                                                                                             I
                                                                                                             jl :
                                                                                                                !
                                                                                                              ,.i
                                                                                                             --
                                                                                                                  l
                                                                                                                  :
                                                                                                                .-j
                                                                                                                   '
                                                                                                                  Ir
                                                                                                                                            j''
                                                                                                                                            ;
                                                                                                                                            .

                  .....

                  =
                       -'   .              k                                                             p                <
                  =.:
                  .........
                                       w   %                   o
                                                               N
                                                               N
                                                                                 .                       o
                                                                                                         p. u,
                                                                                                            o             .
                                                                                                                                            .
                  =    .                                           . o                                   i''
                                                                                                           t              .-j               '
                  = .:
                     .-                                              t                                                                      .
                  --. .                                                  a
                  =  :
                  ***m
                      z
                      ..
                      ''
                                               .   R A                                                   z <-.j
                                                                                                         N
                                                                                                                                            jr
                                                                                                                                            .

                  =::
                  .- -..
                  7*
                                             X                                   N
                                                                                 A   v                   i'
                                                                                                          =
                                                                                                          .
                                                                                                            0
                                                                                                            .
                                                                                                          q f
                                                                                                         .. z
                                                                                                                                            .
                                                                                                                                            '
                       -
                  = ..  ..                                 .                                                              0
                                                                                                                          '
                                                                                                                          .
                                                                                                                                            j.
                   ****
                  - .-
                 ..az..

                   -
                     .                     o %
                                           l
                                                                                                         j
                                                                                                         ,                    j             1'
                                                                                                                                             .
                 ... ;
                   J
                   ......                    -         N                     j                                                                  ,
                   -....
                   Z *                                 (.,a                  ;:
                                                                             .                                                                  .
                  =.
                   ;.;                                  >
                                                        '                    ; .
                     .
                                                                                         .. .                                               ,
                 -   .
                 <
                 c ..
                        .
                                                                             j
                                                                             1
                                                                                                                                            j,
                                                                                                                                            .

                 --w
                  ZZ1:
                     *                                                       l                                                         ;
                  = .                                                                                                              x
                  R:.                                                                               ..                             '        R
                                                                             j                  .                                           f
                                                                             J .                                                                f
                                                                             p
                                                                             7
                                                                                                                                                ,
                                                                                 .                                                     ,
                                                                             ï
                                                                             j -         /                     c                            '
                                                                             ê                      .


                                                                                                     k                .

                                                                                                    f     .-  e ..
                                                                                                                 e :r
Case 1:21-cv-22441-RNS Document 57 Entered on FLSD Docket 09/21/2021 Page 10 of 10




                              /r        %
                         ./
                         :      m
                        /i (
                           ox X      hh
                        : ./ (N a. ,
                                   ? 1
                                      j
                        tck
                          g.(
                        '. .x
                            D-(
                            - %
                              -s
                               ) z,
                              '. '
                                  /
                                  ?
                                  .
                                  a)
                        h œ œ       J
                        '
                        h    c m   ./
                         LA (/)   /
                                 y/
                           .
                           x
                              Nx
                               xx       >A,.



                                    c
                                    œ
                                    k
                                    œ
                                    O
                                    œ



                           m
                         * >
                         1 Q
                         * œ
                         D œ
                           *
                                    K
